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                                      EXHIBIT A

                                    Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )    Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )    Case No. 14-10979 (CSS)
                                                              )
                          Debtors.                            )    (Jointly Administered)
                                                              )
                                                              )

              THIRD ORDER EXTENDING THE DEBTORS’ EXCLUSIVE
         PERIODS TO FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES
         THEREOF PURSUANT TO SECTION 1121 OF THE BANKRUPTCY CODE


         Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry of an order (this “Order”) extending the

Debtors’ Filing Exclusive Period through and including October 29, 2015, and the Debtors’

Soliciting Exclusive Period through and including December 29, 2015, all as more fully set forth

in the Motion and the Keglevic Declaration; and the Court having found that it has jurisdiction

over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this

case and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the

Court having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and the Court having found that the Debtors

provided appropriate notice of the Motion and the opportunity for a hearing on the Motion under


1   The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the debtors’ proposed claims and noticing agent at
    http://www.efhcaseinfo.com.
2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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the circumstances; and the Court having reviewed the Motion and having heard the statements in

support of the relief requested therein at a hearing, if any, before the Court (the “Hearing”); and

the Court having determined that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:

         1.        The Motion is granted as set forth herein.

         2.        Pursuant to section 1121(d) of the Bankruptcy Code, the Debtors’ Filing

Exclusive Period pursuant to section 1121(b) of the Bankruptcy Code is hereby extended through

and including October 29, 2015.

         3.        Pursuant to section 1121(d) of the Bankruptcy Code, the Debtors’ Soliciting

Exclusive Period pursuant to section 1121(c) of the Bankruptcy Code is hereby extended through

and including December 29, 2015.

         4.        Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of the Local Bankruptcy Rules are satisfied by such notice.

         5.        The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         6.        All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

         7.        The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.




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         8.        The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.


Dated: ____________, 2015
       Wilmington, Delaware
                                                     THE HONORABLE CHRISTOPHER S. SONTCHI
                                                     UNITED STATES BANKRUPTCY JUDGE




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